       Case 2:21-cv-00013-RWS Document 1 Filed 01/19/21 Page 1 of 10




               IN THE UNITED STATES DISTRICT COURT
                  NORTHERN DISTRICT OF GEORGIA
                       GAINESVILLE DIVISION

 JAVIER RAMIREZ, Individually and on Behalf of
 All Those Similarly Situated,

                   Plaintiff,
                                                         Case No. ___________
 v.

 OSLEEPER MANUFACTURING CO. and
 JERALD CHANNELL, Jointly and Severally

                   Defendants.

                   COLLECTIVE ACTION COMPLAINT
                        (Jury Trial Demanded)

      Plaintiff, individually and on behalf of all others similarly situated, on

personal knowledge and upon information and belief as to other matters, alleges as

follows:

                          NATURE OF THE ACTION

1.    Defendants own and operate a furniture manufacturing company in

Gainesville, Georgia called OSleeper Manufacturing Co. (hereinafter “OSleeper”).

2.    Plaintiff worked for Defendants’ company as a furniture assembler.



                                        1
        Case 2:21-cv-00013-RWS Document 1 Filed 01/19/21 Page 2 of 10




3.    Throughout Plaintiff’s employment, he was paid on an hourly basis, and

received no overtime premium pay during weeks when he worked in excess of 40

hours per week.

4.    Plaintiff brings this action on behalf of himself, and all other similarly

situated employees of Defendants, to recover unpaid overtime premium pay, owed

to them pursuant to the Fair Labor Standards Act (FLSA), 29 U.S.C. §§ 201 et seq,

and supporting regulations.

                         JURISDICTION AND VENUE

5.    This Court has subject matter jurisdiction over this matter pursuant to 28

U.S.C. §§ 1331, 1337, 1343. In addition, the Court has jurisdiction over Plaintiff

claims under the FLSA pursuant to 29 U.S.C. § 216(b).

6.    Venue is proper in this district pursuant to 28 U.S.C. § 1391 a substantial part

of the events or omissions giving rise to Plaintiff’s claims occurred at Defendants’

manufacturing company located at 456 Industrial Boulevard, Suite A, Gainesville,

Georgia 30501, in Hall County, which is in the Northern District of Georgia.

Therefore, venue is proper in the Gainesville division of the Northern District of

Georgia.


                                          2
        Case 2:21-cv-00013-RWS Document 1 Filed 01/19/21 Page 3 of 10




7.     This Court is empowered to issue a declaratory judgment pursuant to 28

U.S.C. §§ 2201 and 2202.

                                  THE PARTIES

      Plaintiff:

8.     Javier Ramirez, was at all relevant times, an adult individual residing 2702

Buena Vista Circle, Gainesville, Georgia 30504, which is in Hall County.

      Defendants:

9.    OSleeper Manufacturing Co. is listed with the Georgia Secretary of State as a

domestic profit corporation. However, in August 26, 2019, the Georgia Secretary of

State issued an administrative dissolution of the entity for failure to file its annual

registration and/or maintain a registered agent or registered office in the state.

OSleeper’s principal place of business is listed with the Georgia Secretary of State

as: 4645 Simpson Downs, Gainesville, Georgia 30507, which is in Hall County.

10.   Jerald Channell, upon information and belief is an owner, officer, director

and/or managing agent of OSleeper. Mr. Channell is listed as the CEO of OSleeper

with the Georgia secretary of State, and his address is listed as: 4645 Simpson Downs,

Gainesville, Georgia 30507, which is in Hall County.


                                          3
        Case 2:21-cv-00013-RWS Document 1 Filed 01/19/21 Page 4 of 10




11.   Mr. Channell participated in the day-to-day operations of OSleeper, and acted

intentionally and maliciously. The Individual Defendant is considered an “employer”

pursuant to the FLSA, 29 U.S.C. § 203(d), and the regulations promulgated under

29 C.F.R. § 791.2, and is jointly and severally liable with OSleeper.

12.   Upon information and belief, Jerald Channell jointly set the unlawful payroll

policies complained of in this complaint for OSleeper.

13.   At all relevant times, Defendants listed in this complaint have been employers

of Plaintiff, and/or joint employers within the meaning of the FLSA.

14.    Upon information and belief, at all relevant times, Defendants have had gross

revenues in excess of $500,000, within the meaning of 29 U.S.C. § 203(s)(1)(A)(ii).

15.   Additionally, upon information and belief, at all relevant times, Defendants

have had employees handling, selling, or otherwise working on goods or materials

that have been moved in or produced for commerce within the meaning of within

the meaning of 29 U.S.C. § 203(s)(1)(A)(i), in that they operate a furniture

manufacturing store that ships furniture to customers over the internet, via their

website: http://www.osleeper.com/shop, to various states outside of the state of

Georgia, affecting interstate commerce within the meaning of 29 U.S.C. §


                                          4
        Case 2:21-cv-00013-RWS Document 1 Filed 01/19/21 Page 5 of 10




203(s)(1)(A)(i). Plaintiff also handled various materials on a daily basis which were

created, manufactured, or moved in interstate commerce outside of Georgia, which

were necessary for the assembly of furniture, such as: industrial saws, nail guns, and

work vehicles, and thus Plaintiff has individual coverage under the FLSA.

                          STATEMENT OF FACTS

16.    At all relevant times, Defendants have been in the furniture manufacturing

industry. Defendants sell furniture that they manufacture to customers in Georgia, as

well as to customers in various states around the country via their website, and ship

the furniture items to their customers using shipping services such as the United

States Postal Service.

17.   Plaintiff was employed by Defendants as a furniture assembler from

November 19, 2017 to December 16, 2020.

18.   As a furniture assembler, Plaintiff’s job duties included: assembling furniture,

installing furniture, performing quality control inspecting, and supervising other

furniture assemblers.

19.   Plaintiff was an hourly employee throughout his employment for Defendants.

Plaintiff’s pay would increase or decrease, depending on whether he worked more


                                          5
        Case 2:21-cv-00013-RWS Document 1 Filed 01/19/21 Page 6 of 10




or less hours in a given week.

20.   From November 17, 2017 to June 3, 2018, Plaintiff was paid $17 per hour.

From June 4, 2018 to November 20, 2020, Plaintiff was paid $19 per hour.

21.   Plaintiff typically worked 45 hours each week.

22.   Plaintiff typically worked five days a week, Monday through Friday, but

occasionally would work on Saturdays and Sundays.

23.   Plaintiff typically worked from 7 a.m. to 5 p.m., and had a one-hour break

each day. Thus, Plaintiff typically worked 9 hours each day, after accounting for his

break. However, Plaintiff would often work longer hours at times when the company

was very busy.

24.   Plaintiff complained to Defendant Jerry Channel about him not receiving

overtime wages. Despite Plaintiff’s complaints, Defendants refused to pay Plaintiff

overtime wages, and continued to pay him straight-time for all hours worked.

25.   Defendants were required by law to pay Plaintiff time-and-a-half his regular

wages for all hours in excess of 40 hours, but purposely chose to not to pay his

overtime wages.

26.   This failure to pay overtime premium wages can only be considered a willful


                                         6
        Case 2:21-cv-00013-RWS Document 1 Filed 01/19/21 Page 7 of 10




violation of the FLSA, within the meaning of 29 U.S.C. § 255(a).

                FLSA COLLECTIVE ACTION ALLEGATIONS

27.   Pursuant to 29 U.S.C. §§ 207 & 216(b), Plaintiff brings his First Cause of

Action as a collective action under the FLSA, on behalf of himself and the following

collective:

      All persons employed by Defendants, at any time from January 19,
      2018 to January 19, 2021 to the entry of judgment in this case (the
      “Collective Action Period”), who worked as furniture assemblers,
      installers, quality control inspectors, stock workers, janitors, and all
      other hourly employees who were not paid overtime wages (the
      “Collective Action Members”).

28.    A collective action is appropriate in this circumstance because Plaintiff and

the Collective Action Members are similarly situated, in that they were all subjected

to Defendants’ illegal policy of failing to pay an overtime premium for work

performed in excess of 40 hours per week. As a result of this policy, Plaintiff and the

Collective Action Members did not receive the legally-required overtime premium

payments for all hours worked in excess of 40 hours per week.

29.   The exact number of employees who have suffered the same unpaid overtime

wage injury as Plaintiff is unknown at this time.



                                          7
        Case 2:21-cv-00013-RWS Document 1 Filed 01/19/21 Page 8 of 10




                     FIRST CAUSE OF ACTION
          FAIR LABOR STANDARDS ACT – UNPAID OVERTIME

30.    Plaintiff, on behalf of himself, and the Collective Action Members, repeat and

reallege each and every allegation of the preceding paragraphs hereof with the same

force and effect as though fully set forth herein.

31.    As a result of Defendants’ failure to compensate its employees, including

Plaintiff and the Collective Action Members, at a rate of not less than one and one-

half times their regular rate of pay for work performed in excess of 40 hours per

week, Defendants have violated the FLSA, 29 U.S.C. § 201 et seq., including 29

U.S.C. § 207(a)(1) and 215(a), for which Plaintiff and the Collective Action

Members are entitled to relief pursuant to 29 U.S.C. § 216(b).

32.    Defendants failure to pay overtime wages to these hourly employees

constitutes a willful violation of the FLSA within the meaning of 29 U.S.C. § 255(a).

33.    The failure to pay overtime has caused Plaintiff to suffer lost wages and

interest thereon. Plaintiff and Collective Action Members are entitled to recover

from Defendants their unpaid overtime compensation, liquidated damages,

attorney's fees, and costs and disbursements of the action pursuant to 29 U.S.C. §



                                           8
           Case 2:21-cv-00013-RWS Document 1 Filed 01/19/21 Page 9 of 10




216(b).

                                PRAYER FOR RELIEF

          Therefore, Plaintiff respectfully requests that this Court grant the following

relief:

a. An order tolling the relevant statutes of limitations;

b. An order declaring that Defendants violated the FLSA;

c. An award of unpaid overtime wages due under the FLSA;

d. An award of liquidated damages as a result of Defendants’ willful failure to pay

overtime wages

e. An award of prejudgment and post-judgment interest;

f. An award of costs and expenses of this action together with attorney’s fees;

g. Such other and further relief and this Court deems just and proper.

                           DEMAND FOR TRIAL BY JURY

          Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff

demands a trial by jury on all questions of fact raised by the complaint.

Dated: January 19, 2021

                                         Respectfully submitted,


                                             9
Case 2:21-cv-00013-RWS Document 1 Filed 01/19/21 Page 10 of 10




                           s/ Brandon A. Thomas
                           BRANDON A. THOMAS
                           GA BAR NO.: 742344
                           The Law Offices of Brandon A. Thomas, PC
                           1 Glenlake Parkway, Suite 650
                           Atlanta, GA 30328
                           Tel: (678) 330-2909
                           Fax: (678) 638-6201
                           brandon@overtimeclaimslawyer.com




                              10
